Defendant:De'Andre Maurice Grier (WRIT)
AUSA:

Proceeding: Initial Appearance -
Bond/PTD Held: * Yes No

Bond

F] Oy

AAA

AA A

Case 0:25-mj-06320-PAB COURTM INOTES/ORDER™ 05/29/2025 Page 1 of 1

United States Magistrate Judge Patrick M. Hunt

Fort Lauderdale Courtroom 310

J#: 85272-511

Joseph A. Cooley

Case #:

Date: 5/29/2025 Time: 11:00AM
0:25-mj-06320-PAB-2

Attorney: Jonathan S. Friedman (CJA)

21:U.S.C.§846 CONSPIRACY TO DISTRIBUTE AND POSSESS WITH THE INTENT TO DISTRIBUTE A CONTROLLED
Violation: SUBSTANCE

CJA Appt: Jonathan S. Friedman (5/29/2025)

Recommended Bond: Pretrial Detention

Set at:

Surrender and/or do not obtain passports/travel docs

Report to PTS as directed/or x’s a week/month by
phone: _x’s a week/month in person

Random urine testing by Pretrial Services

Treatment as deemed necessary

Refrain from excessive use of alcohol

Participate in-mental health assessment & treatment
Maintain or seek full-time employment/education
No contact with victims/witnesses

No firearms

Not to encumber property

May not visit transportation establishments

Home Confinement/Electronic Monitoring and/or

Curfew pm to am, paid by

Allowances: Medical needs, court appearances, attorney visits,
religious, employment

Travel extended to:

Co-signed by:

Language: English

Disposition:

|Defendant Present. Government oral motion to

lunseal the case- Granted-. See order Provided.

loctendant advised of his rights and charges.

Ibefendant was sworn and testified as to

lappointing counsel. Due to a conflict with the

lpubsic Defender’s Office, Court appoints GA

Nonathan S. Friedman. CJA Jonathan S. Friedman

jaccepted appointment via telephone in open

court. Defendant oral motion to appoint counsel

liciay- Granted.

Icovernment oral motion for Pretrial Detention

|rearing-Granted- Defense oral motion to

continue Pretrial Detention Hearing-Granted-.

Other:

5
[Brady Order Entered Today.

NEXT COURT APPEARANCE

Date: Time: Judge:

Place:

Report RE Counsel:

PTD/Bond Hearing: 6/3/2025 @10:30AM FTL Duty
Prelim/Arraign or Removal: 6/12/2025 at 11:00AM FTL Duty Court

Status Conference RE:
D.A.R.

CHECK IF APPLICABLE: ___

11:04:44

Time in Court: 10 Minutes

For the reasons stated by counsel for the Defendant and finding that the ends of justice served by

granting the ore tenus motion for continuance to hire counsel outweigh the best interests of the public & the Defendant ina
Speedy Tria!, the Court finds that the period of time from today, through and including , shall be deemed
excludable in accordance with the provisions of the Speedy Trial Act, I8 USC 3161 et seq..
